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United Statcs District Court
WESTERN DISTRICT oF TENNESSEE
Eastern Division

 

JUDGMENT IN A CIVIL CASE

WILLIAM K. CARTER,
v.

QUINTON WHITE, ct al., CASE NUMBER: 1204-1293-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T lS ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 6/30/2005, this case is hereby DlSl\/||SSED. lt is further
CERT|F|ED that any Appeal by plaintiff is not taken in good faith.

APPROVED:

Q§WMA D M

UFS D. ToDD
ITED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
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DATE l l DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(a) FRCP on f l (Q z §§ ; 2 . \)\

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01293 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

William K. Carter
HCCA-WHITEVILLE
136885

P.O. Box 549
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

